Case 1:23-cr-00135-RP Document164 _ Filed 02/10/25 Pé of 2

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DEPUTY

Dear whoever is reading this: 603794)
. oO f
Re: United States v. Nounalloots , Sarr vite. a
Case No. LOST AS € “HE \n-hensitD

I am writing to request that you provide me copies of the below
checked documents, from my criminal file/docket.

x My full Docket Sheet
My latest Indictment

My Plea Agreement

My Judgement & Commitment document(s)
The Reporter's Transcript of my sentencing proceedings

Latest version of the pre-sentence Probation Report

T need the above documents because;

The Bureau of Prisons has erroneously computed my sentence

~< I wish to pursue post-conviction remedies

I apoligize for any inconveinence this may cause.

Thank you in advance for
your prompt respenss

/s/

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REG #:__TO7ZOS|D
FEDERAL CORRECTIONAL INSTITUTION #2 AN 2025 PMS b
P.O. BOX 3850

ADELANTO, CA 92301

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